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UNITED STATES DISTRICT COURT LONG

EASTERN DISTRICT OF NEW YORK ISLAND OFFICE
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UNITED STATES OF AMERICA INDICTMENT

~ against - Cr. No. © R fe . U lL 3

(T. 18, U.S.C., §§ 982(a)(7), 1028A(a)(1),
MORRIS BARNARD, 1028A(b), 1035, 1347, 2 and/3551 et

seq.; T. 21, U.S.C., § 853
Defendant. seq 8 ®)

cecceneeeseedeseeenseeeeees x BROWN, J.

THE GRAND JURY CHARGES:

 

INTRODUCTION
SHIELDS, M.J.

Atall times relevant to this Indictment, unless otherwise indicated:

I. Background

A. The Medicare Program

l. The Medicare program (“Medicare”) was a federal health care program
providing benefits to persons aged 65 or older or disabled. Medicare was administered by the
Centers for Medicare and Medicaid Services (“CMS”), a federal agency under the United States
Department of Health and Human Services. Individuals who received benefits under Medicare
were referred to as Medicare “beneficiaries.” Physicians who provided services to beneficiaries
or ordered that services be provided to beneficiaries were referred to as “rendering physicians.”

2. Medicare was a “health care benefit program,” as defined by Title 18,
United States Code, Section 24(b).

3. Medicare included coverage under two primary components, hospital

insurance (“Medicare Part A”) and medical insurance (“Medicare Part B”). Medicare Part B

 
covered, among other things, the costs of certain surgical procedures. Generally, Med

care Part

B covered these costs only if, among other requirements, they were medically necessary and

performed by a physician.

4. Medical providers, including physicians, submitted a Medicare

Enrollment

Application to Medicare to participate in Medicare and bill for claims. Medical providers

‘certified to participate in Medicare, whether clinics or individuals, were assigned a pra

identification number (“PIN”) or provider transaction access number (“PTAN”) for bi

vider

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purposes. After a medical provider rendered a service, the provider was required to use its

assigned PIN/PTAN when submitting a claim for reimbursement to Medicare.
5.

provider was required to submit a claim, either electronically or in writing. The claim

required to include information identifying the medical provider, the patient and the se
rendered. Medical providers were authorized to submit claims to Medicare only for se
they actually rendered and were required to maintain patient records verifying the proy

services. By submitting a claim, the provider certified, among other things, that the se

were rendered to the patient and were medically necessary.

6. Providers submitted claims to Medicare using billing codes, als
Current Procedural Terminology or “CPT” codes, which were numeric codes referring
specific descriptions of the medical services provided to beneficiaries.

7. An HIC number (“HICN”) is a Medicare beneficiary’s identific

To receive payment from Medicare for a covered service, a meq

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number. The format of an HICN issued by CMS is a Social Security number followed by an

alpha or alphanumeric Beneficiary Identification Code (“BIC”).

 
8. A BIC of “C” identified a beneficiary who was a child, and who

also been disabled.

may have

9. A BIC of “A” identified a beneficiary who was a retired or disabled

worker.
B. Relevant Services Covered by Medicare
10. Medicare covered the costs related to gastroenterological proced
Medicare also covered the costs of colonoscopy procedures. Medicare covered benefi
outpatient visits of varying lengths of time, each increment of time bearing its own CP
depending on the length of the visit.
11. The reimbursement amounts that Medicare paid medical provid
performing these procedures included payment for medical services related to those pr
C. The Defendant
12. The defendant MORRIS BARNARD was a physician practicing

Neck, New York. BARNARD was certified to participate in Medicare under his indiv

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PIN/PTAN. From October 1, 2015 through February 26, 2020, BARNARD used his PIN/PTAN

to submit and cause the submission of claims to Medicare for gastroenterological and

colonoscopy procedures associated with the CPT Codes listed below in paragraph thirteen.

II. The Fraudulent Scheme

13. From approximately October 1, 2015 through February 26, 2020, the

defendant MORRIS BARNARD submitted and caused the submission of false and fraudulent

claims to Medicare for gastroenterological and colonoscopy procedures, other medica
procedures and office visits, for services that were not rendered. Most of these claims

submitted to Medicare with either a BIC of “C” or “A,” signifying that the procedures

were

were

 
being performed on disabled beneficiaries. Most of the “C” and “A” beneficiaries for which
claims were submitted lived in residential group homes. Medicare covered the costs of the
gastroenterological procedures and office visits associated with the CPT codes listed in the chart
below (among others) in the number of bills indicated, which were submitted or caused to be
submitted by the defendant MORRIS BARNARD, resulting in the payment of the approximate

amounts listed:

 

 

 

 

CPT How many

Code CPT Code Description Paid Amount | times billed
Imaging of digestive tract done from the inside of

91110 the digestive tract $263,788.29 364
Control of bleeding in large bowel using an

45382 endoscope $195,871.70 349
Established patient office or other outpatient visit,

99213 typically fifteen minutes $137,242.96 2,851

 

Monitoring and recording of gastroesophageal
reflux with pH electrode insertion including

 

 

 

 

 

 

91035 analysis and interpretation $135,688.12 346
Destruction of large bowel growths using an

45388 endoscope $134,011.28 51
Biopsy of the esophagus, stomach, and/or upper

43239 small bowel using an endoscope $112,945.68 382

 

 

14. In connection with the submission of false and fraudulent claims to

Medicare described in paragraph thirteen the defendant MORRIS BARNARD also prepared
false documents, including, but not limited to, claims for procedures and services that he had
purportedly performed for beneficiaries that, in fact, had not been performed. In submitting
these fraudulent claims to Medicare, BARNARD provided Medicare with patients’ means of
identification, including, but not limited to, the patient’s name, date of birth and HICN, all of
which was required by Medicare to appear on documentation seeking Medicare reimbursement.
Medicare reimbursed approximately $1.4 million of these false and fictitious claims, none of

which BARNARD was lawfully entitled to receive.

 
COUNT ONE
(Health Care Fraud)

15.
and incorporated as if fully set forth in this paragraph.
16. In or about and between October 1, 2015 and February 26, 2020
dates being approximate and inclusive, within the Eastern District of New York and el

the defendant MORRIS BARNARD, together with others, did knowingly and willfulls

and attempt to execute a scheme and artifice to defraud Medicare, a health care benefit

and to obtain, by means of materially false and fraudulent pretenses, representations and

promises, money and property owned by, and under the custody and control of, Medic
connection with the delivery of and payment for health care benefits, items and service
(Title 18, United States Code, Sections 1347, 2 and 3551 et seq.)

COUNTS TWO THROUGH SEVEN
(False Statements Relating to Health Care Matters)

17.
and incorporated as though fully set forth in this paragraph.
18. On or about the dates identified below, within the Eastern Distr
York and elsewhere, the defendant MORRIS BARNARD, together with others, in ma

involving one or more health care benefit programs, including Medicare, did knowing

willfully (a) falsify, conceal and cover up by trick, scheme and device material facts, a

The allegations contained in paragraphs one through fourteen are realleged

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The allegations contained in paragraphs one through fourteen are realleged

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make materially false, fictitious and fraudulent statements and representations, and make and use

materially false writings and documents, knowing the same to contain materially false
and fraudulent statements and entries, in connection with the delivery of and payment

care benefits, items and services, in that the defendant prepared claim forms that set fo

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procedures purportedly performed by him on certain patients for the purpose of indicating which

procedures should be billed to Medicare and which falsely indicated that the defendant provided

services that were not actually rendered, as set forth below:

 

 

 

 

 

 

 

 

 

 

 

 

 

Count Beneficiary Service Date and Services Identified
TWO | J.W., an 8/4/17:
individual “Biopsy of small bowel using an endoscope; biopsy of large
whose identity | bowel using an endoscope; control of bleeding in large bowel
is known to the | using an endoscope; removal of polyps or growths in large bowel
Grand Jury using an endoscope; stool analysis for blood; established patient
office or other outpatient visit, typically fifteen minutes.”
THREE | J.K., an 8/15/17:
individual “Imaging of digestive tract done from the inside of the Higestive
whose identity | tract; established patient office or other outpatient visit, typically
is known to the | fifteen minutes.”
Grand Jury
FOUR | M.S., an 5/9/18:
individual “Biopsy of small bowel using an endoscope; destruction of large
whose identity | bowel growths using an endoscope; stool analysis for blood;
is known to the | established patient office or other outpatient visit, typically
Grand Jury fifteen minutes.”
FIVE | A.G., an 8/5/18:
individual “Biopsy of small bowel using an endoscope; destruction of large
whose identity | bowel growths using an endoscope; stool analysis for blood;
is known to the | established patient office or other outpatient visit, typically
Grand Jury fifteen minutes.”
SIX E.G., an 3/4/19:
individual “Biopsy of small bowel using an endoscope; destruction of large
whose identity | bowel growths using an endoscope; stool analysis for blood;
is known to the | established patient office or other outpatient visit, typically
Grand Jury fifteen minutes.” {
SEVEN | L.M., an 3/12/19:
individual “Biopsy of small bowel using an endoscope; biopsy of large
whose identity | bowel using an endoscope; control of bleeding in large bowel
is known to the |. using an endoscope; removal of polyps or growths in a bowel
Grand Jury using an endoscope; stool analysis for blood; established patient
office or other outpatient visit, typically fifteen minutes.”

 

(Title 18, United States Code, Sections 1035, 2 and 3551 et seq.)

 

 
and incorporated as though fully set forth in this paragraph.

COUNTS EIGHT THROUGH THIRTEEN

(Aggravated Identity Theft)

19. The allegations contained in paragraphs one through fourteen ar

> realleged

20. | Onor about the dates identified below, within the Eastern District of New

York and elsewhere, the defendant MORRIS BARNARD, together with others, during

and in

relation to the crime charged in Count One, did knowingly and intentionally transfer, possess and

use, without lawful authority, means of identification of another person, to wit: the individuals

listed below, knowing that the means of identification belonged to another person:

 

Count

 

 

 

 

 

 

 

 

 

 

 

 

Beneficiary Date of Possession Means of Identification
and Use
EIGHT J.W. S/10/18 Name, date of birth and |HICN
NINE JK. 5/25/18 Name, date of birth and HICN
TEN M.S. 5/3/19 Name, date of birth and HICN
ELEVEN AG. 5/22/19 Name, date of birth and ]HICN
TWELVE E.G. 4/18/19 Name, date of birth and HICN
THIRTEEN L.M. 4/17/19 Name, date of birth and HICN
(Title 18, United States Code, Sections 1028A(a)(1), 1028A(b), 2 and 3351 et
seq.)

conviction of any of the offenses charged herein, the government will seek forfeiture in

CRIMINAL FORFEITURE ALLEGATION

21. The United States hereby gives notice to the defendant that, upon his

accordance with Title 18, United States Code, Section 982(a)(7), which requires any person

convicted of such offenses to forfeit any property, real or personal, which constitutes on is

derived, directly or indirectly, from gross proceeds traceable to such offenses.

22. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

 

 
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(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third) party;
(c) has been placed beyond the jurisdiction of the court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be divided
without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 833(p), to
seek forfeiture of any other property of such defendant up to the value of the forfeitabl¢ property
described in this forfeiture allegation.
(Title 18, United States Code, Section 982(a)(7); Title 21, United States Code,

Section 853(p))

A TRUE BILL

 

 

 

 

 

FOREPERSON

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SETH D. DUCHARME
ACTING UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK

 

 

 

 

 
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No.

 

UNITED STATES DISTRICT COURT
EASTERN District of NEW YORK

CRIMINAL DIVISION

 

THE UNITED STATES OF AMERICA

VS.

MORRIS BARNARD,

Defendant.

 

INDICTMENT

(T. 18 USC 982(a)(7), 1028A(a)(1), 1028A(b), 1035, 1347,
2 and 3551 et seq.; T. 21, USC 853(p)

 

A true bill.

CT hatoen TJ Ren. --------

Foreperson

 

Clerk

 
